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                             Case 1:24-cr-10090-WGY Document 21 Filed 04/23/24 Page 1 of 1
✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
                                 For the                                              DISTRICT OF                                    Massachusetts



                     United States of America
                                                                                                                 EXHIBIT AND WITNESS LIST
                                        V.
                              Walter Norton                                                                            Case Number: 24-cr-10090

PRESIDING JUDGE                                                    PLAINTIFF’S ATTORNEY                                      DEFENDANT’S ATTORNEY
 Jennifer C. Boal                                                   Katherine Ferguson                                        James Sultan
TRIAL DATE (S)                                                     COURT REPORTER                                            COURTROOM DEPUTY
 04/23/2024                                                         Digital Recorder                                          Aaron Hutchins
 PLF.      DEF.     DATE
 NO.       Format OFFERED
           NO.               m/d/yyyyADMITTED
                  m/d/yyyy - MARKED                                                                      DESCRIPTION OF EXHIBITS* AND WITNESSES

   1                  4/23/2024             1             1         Complaint

   2              Format m/d/yyyyYes 1
                     4/23/2024       or No Yes 1
                                               or No                Bank Records of Defendant




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                     Page 1 of    1   Pages


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